                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

 NATURAL RESOURCES DEFENSE COUNCIL,
 CENTER FOR BIOLOGICAL DIVERSITY, HUMANE
 SOCIETY INTERNTIONAL, and HUMANE SOCIETY
 OF THE UNITED STATES,
                                                                 Case No.
                          Plaintiffs,
                                                                 COMPLAINT
                              vs.

 RYAN ZINKE, in his official capacity as Secretary of the
 Interior, DEPARTMENT OF THE INTERIOR, U.S.
 FISH AND WILDLIFE SERVICE, JIM KURTH, in his
 official capacity as Acting Director of the U.S. Fish and
 Wildlife Service, and GREG SHEEHAN, in his official
 capacity as Principal Deputy Director of the U.S. Fish and
 Wildlife Service,

                         Defendants.




                                    INTRODUCTION

       1.      This case concerns Defendants’ decision to reward a small band of trophy

hunting enthusiasts and politically-connected donors by granting those individuals an

outsized opportunity to craft federal wildlife policy. For decades, this group has sought

to relax or eliminate federal laws that impede its chosen pastime: the international

hunting of imperiled species – such as lions, elephants, and rhinos – for trophies and for

profit. Now, acting under an ill-gotten federal imprimatur, these individuals are moving

quickly to achieve their goals.

       2.      The outsourcing of federal conservation policy to the trophy hunting

industry violates the Federal Advisory Committee Act (“FACA”), which was enacted in

1972 to curb the executive branch’s reliance on superfluous and secretive “advisory
committees:” ad hoc, non-federal bodies that nonetheless counseled governmental

decisionmakers on significant swaths of national policy. Prior to FACA, special interests

had used these committees – and the associated veneer of governmental legitimacy – to

drive federal decisionmaking outside the light of public scrutiny, participation, and

debate.

          3.   Accordingly, FACA establishes strict requirements for the creation and

conduct of federal advisory committees. Every advisory committee must be in the public

interest, fairly balanced among competing points of view, and structured to avoid

inappropriate influence by special interests. Additionally, committees must make their

meetings open to the public and disclose all documents produced to or by their

membership.

          4.   In the fall of 2017, Secretary Zinke – who has accepted tens of thousands

of dollars of campaign contributions from the trophy hunting industry – created the

deceptively named “International Wildlife Conservation Council” (“IWCC” or

“Council”), a federal advisory committee stacked solely with representatives of the

hunting, firearm, and animal trade industries.

          5.   Allegedly designed to promote conservation, the Council actually exists to

promote the anthesis of sound conservation policy: the hunting of imperiled species as a

means to import their heads, hides, tusks, feet, and other body parts.

          6.   Because the Council’s actual operations are incompatible with its

purported goals and with the mission and statutory mandates of the United States Fish

and Wildlife Service (“FWS”), Defendants are only able to maintain the Council by

continuously violating FACA.




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       7.      Instead of fairly balancing points of view on the Council, for example,

Defendants stacked it almost exclusively with individuals who retain personal and

financial interests in lowering regulatory safeguards for importing exotic animals and

their parts, and excluded from the Council any scientist, economist, or expert in

international wildlife conservation.

       8.      And despite creating a Council consisting almost entirely of members or

representatives of special interest groups with a stake in trophy hunting (such as Safari

Club International and the National Rifle Association), the Department of the Interior

(“DOI” or the “Department”) has failed to guard against inappropriate influence by those

groups. The Council’s charter, for example, is entirely devoid of provisions that could

conceivably moderate the influence of the hunting interests dominating the Council.

       9.      Likewise, the Council has worked to keep its operations secret, limiting

access to its meetings and failing to release documents related to those meetings, flouting

FACA, FACA’s implementing regulations, and longstanding Department policy.

       10.     Defendants’ failure to adhere to FACA injures Plaintiffs – non-profit

organizations committed to effective and science-based conservation strategies – by

facilitating the development of federal wildlife policy in secret and without debate. And

by refusing to balance points of view on the Council and operating without adequate

opportunity for public input and discussion, the Council directly hinders Plaintiffs’

statutory rights to information and participation with respect to federal wildlife policy,

and increases the likelihood that Plaintiffs’ memberships will be injured by policies

engineered to benefit only representatives of the trophy hunting industry.




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       11.     Although the Council has met at least twice, it is no closer to satisfying its

obligations under FACA than it was when Secretary Zinke signed its charter. With

another Council meeting looming this fall – and with the Council continuing to develop

concrete policy recommendations – Plaintiffs can only conclude they will be permanently

shut out of Council business.

       12.     To arrest these violations of FACA before the illegally-charted Council

further cements the nation’s wildlife policy, Plaintiffs respectfully seek relief from this

Court in the form of an order setting aside the Council’s charter and enjoining Defendants

from accepting advice or recommendations from the Council.

                                         PARTIES

       13.     Defendant RYAN ZINKE is the Secretary of the Department of the

Interior and has ultimate authority over the IWCC’s formation, composition,

administration, and termination. Secretary Zinke also has ultimate responsibility for the

administration and implementation of the Endangered Species Act (“ESA”) with regard

to terrestrial endangered and threatened species, and for compliance with all other federal

laws applicable to the Department of the Interior. He is sued in his official capacity.

       14.     Defendant the UNITED STATES DEPARTMENT OF THE INTERIOR

is an agency within the executive branch of the federal government, and is responsible for

administering, among other things, implementation of the ESA and the Convention on

International Trade in Endangered Species of Wild Fauna and Flora (“CITES”).

       15.     Defendant the UNITED STATES FISH AND WILDLIFE SERVICE is an

agency of the United States, housed within the Department of the Interior, responsible for




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administering the provisions of the ESA with regard to threatened and endangered

terrestrial species, including elephants, rhinos, and lions.

        16.     Defendant JIM KURTH is Acting Director and Deputy Director for

Operations of the United States Fish and Wildlife Service. Acting Director Kurth is sued

in his official capacity.

        17.     Defendant GREG SHEEHAN is Principal Deputy Director of the United

States Fish and Wildlife Service. Principal Deputy Director Sheehan is sued in his

official capacity.

        18.     Plaintiff NATURAL RESOURCES DEFENSE COUNCIL is a national,

not-for-profit environmental organization, headquartered in New York City, with more

than three million members and online activists. On behalf of its members, NRDC’s

lawyers, scientists, and other environmental specialists engage in research, advocacy,

public education, and litigation to protect the world’s natural resources, public health, and

environment. NRDC has long placed a priority on wildlife conservation, working to

extend protections to numerous species via robust and aggressive implementation of the

ESA and advocacy at CITES.

        19.     Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a

non-profit 501(c)(3) corporation that works through science, law, and policy to secure a

future for all species, great or small, hovering on the brink of extinction. The Center is

actively involved in species and habitat protection issues and has more than 63,000

members throughout the United States and the world, including in Africa. The Center is

headquartered in Tucson, Arizona, with offices in Washington, D.C.; San Francisco,

Joshua Tree, and Los Angeles, California; St. Petersburg, Florida; Portland, Oregon;




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Silver City, New Mexico; Richmond, Vermont; Minneapolis and Duluth, Minnesota;

Seattle, Washington; and other locations.

       20.      The Center seeks protections for imperiled species in other countries under

United States and international law and has fought for protections for wildlife such as

elephants, lions, giraffes, rhinos, leopards, and other species commonly targeted by

trophy hunters. The Center also works to protect imperiled species in their habitat, and

its members and staff enjoy observing imperiled – and often trophy-hunted – species in

the wild.

       21.      Plaintiff HUMANE SOCIETY INTERNATIONAL (“HSI”) is a global

non-profit organization headquartered in Washington, D.C. with offices and programs

around the world. HSI works to protect animals from abuse, including wildlife

trafficking and trophy hunting, and has expended substantial organizational resources

advocating for increased protection of elephants, lions, rhinos, and leopards (four of the

so-called “Big Five” species targeted by trophy hunters). In order to achieve the most

stringent scrutiny of trophy imports, HSI successfully petitioned FWS to list the African

lion under the ESA, submitted a petition to “up-list” the African elephant to endangered

status under that Act, and has petitioned to eliminate loopholes allowing the import of

leopard trophies. HSI actively advocates at the state, federal, foreign, and international

level against unsustainable trade in wildlife parts and products, and regularly monitors

the import and export of wildlife specimens. HSI also works with local authorities in

African range states to improve management and protection of elephants, lions, rhinos,

and leopards.




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       22.     For example, HSI has implemented a program to administer contraception

to South African elephant populations that had previously been controlled by slaughter.

HSI has also partnered with local organizations in Zimbabwe to educate the public about

humane wildlife management, and to protest the sale of elephants to China. HSI works

with Namibian communities to reduce human conflict with lions, and strives to decrease

demand for trade in wildlife parts and products for commercial sale and medicinal use.

The recreational killing of these imperiled species by hunters undermines HSI’s efforts

by normalizing lethal activities.

       23.     Plaintiff THE HUMANE SOCIETY OF THE UNITED STATES

(“HSUS”) is a non-profit organization headquartered in Washington, D.C., with members

who are personally vested in ensuring the continued survival of some of the world’s most

iconic imperiled species. HSUS has petitioned FWS to list elephants, lions, leopards, and

chimpanzees as endangered in order to curtail the import of hunting trophies and the

domestic trade in such wildlife, and has commented in opposition to hundreds of permit

applications to import endangered species trophies or to kill endangered species in the

United States. Further, HSUS has litigated in defense of FWS decisions prohibiting the

import of elephant trophies from Zimbabwe and Tanzania due to those countries’

unsustainable management of elephant populations.

       24.     Plaintiffs bring suit on behalf of their members, who derive scientific,

aesthetic, recreational, and spiritual benefits from imperiled species that are commonly

hunted for trophies, including elephants, lions, giraffes, leopards, and rhinos. For

example, Plaintiffs have members who have recently visited Africa to view lions,

elephants, rhinos, leopards, and giraffes in the wild, and who have plans to visit Africa in




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the near future to view these animals in their natural habitats. These members’ interests

in protecting imperiled populations from harm and extinction are injured when the federal

government authorizes United States hunters to kill and import members of those species.

       25.     Additionally, Plaintiffs’ members rely on the full and transparent release

of government information – often obtained through the efforts of Plaintiffs themselves –

to stay informed of federal wildlife policies and laws.

       26.     Plaintiffs also bring this suit on their own institutional behalf. An

important component of Plaintiffs’ missions is educating their members and the public

concerning the federal government’s role in the international conservation of threatened

and endangered species. Thus, Plaintiffs routinely communicate with and inform their

memberships concerning proposed rulemaking, policy, and legislation through social

media, newsletters, action alerts to their members, and other communications.

       27.     Plaintiffs’ ability to provide such information is compromised when the

government relies on opaque and procedurally-inadequate advisory committees to shape

executive rulemaking and policymaking. Absent the disclosures required by FACA,

Plaintiffs are unable to inform their members or the public concerning the Council’s

deliberations and proposals, preventing meaningful participation in Council processes

and related agency actions.

       28.     Similarly, Plaintiffs’ ability to meaningfully participate and advocate for

policies consistent with their interest is compromised by Defendants’ noncompliance

with FACA. Having been excluded from the Council, and given that representation on

the Council hails from hunting, firearm, and animal trade industries, Plaintiffs are

required to expend time and other organizational resources to keep abreast of the Council




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and its activities. Plaintiffs have devoted staff time for the purposes of obtaining Council

records that should be public, attending and recording Council meetings in Washington,

D.C., and Atlanta, Georgia (the Council has not released transcripts, detailed minutes, or

recordings of Council meetings), and making Plaintiffs’ views on Council business

known to agency officials at DOI and FWS. Defendants’ failure to comply with FACA’s

requirements has thus created an involuntary drain on Plaintiffs’ organizational resources.

       29.     Plaintiffs’ exclusion from the Council and its deliberations also

undermines their work assisting organizations and governmental agencies in other

countries to strengthen those nations’ wildlife policies.

       30.     For example, Plaintiffs serve on intersessional CITES working groups

addressing issues attendant to the treaty’s implementation, such as importation

procedures for wildlife parts (including trophies). Plaintiffs also attend and participate in

CITES meetings on the designation of species on the CITES appendices (which provide

the international regulation for trade in imperiled species). Plaintiffs also have on-the-

ground and scientific knowledge of conservation efforts for imperiled species targeted by

trophy hunters, and are able to contribute to policy debates concerning trophy hunting –

an often divisive issue – by offering scientific, economic, and practical knowledge about

the ramifications of hunting for imperiled species. By excluding Plaintiffs from the

Council and shielding much of the Council’s work from public view, Defendants reduce

Plaintiffs’ access to information concerning United States policy, impeding Plaintiffs’

ability to carry out their work.




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       31.     Each of these injuries is caused by the Defendants, who collectively

exercise control over the Council’s charter, disclosures, and meetings (and, therefore, the

Council’s policy recommendations).

       32.     Likewise, these injuries are redressable by an order from this Court setting

aside the Council’s founding documents, prohibiting Defendants from relying on Council

recommendations, and/or requiring Defendants to comply with FACA’s requirements.

                            JURISDICTION AND VENUE

       33.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331, because this action arises under federal law, specifically the Federal

Advisory Committee Act, 5 U.S.C. § App. 2, and the Administrative Procedure Act

(“APA”), 5 U.S.C. § 702.

       34.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because

Plaintiff NRDC is headquartered in New York.

                               LEGAL BACKGROUND

   A. The Federal Advisory Committee Act

       35.     A “sunshine law,” FACA demands transparency and public participation

when the executive branch establishes or uses non-federal bodies for the purpose of

seeking advice. Thus, a federal agency may only form an advisory committee after it has

“determined as a matter of formal record, after consultation with the [General Service

Administration (“GSA”)], with timely notice published in the Federal Register, [that the

committee is] in the public interest in connection with the performance of duties imposed

on that agency by law.” 5 U.S.C. App. II § 9(a)(2). Likewise, the agency forming the

advisory committee must render and explain a “[d]etermination of need in the public




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interest,” including a finding that the committee is “essential to the conduct of agency

business and . . . the information to be obtained is not already available through another

advisory committee or source within the Federal Government.” 41 C.F.R. § 102–3.30(a).

       36.     When passing FACA, Congress explained that “[o]ne of the great dangers

in the unregulated use of advisory committees is that special interest groups may use their

membership on such bodies to promote their private concerns,” citing in particular an

Industrial Waste Committee where “only representatives of industry were present[,]” and

“[n]o representatives of conservation, environment, clean water, consumer, or other

public interest groups were present.” H.R. Rep. No. 92-1017, at 6 (1972), as reprinted in

1972 U.S.C.C.A.N. 3491, 3496.

       37.     To ensure that special interests do not control the advice rendered by

advisory committees, FACA requires “the membership of [an] advisory committee to be

fairly balanced in terms of points of view represented and the functions to be performed

by the advisory committee.” 5 U.S.C App. II § 5(b)(2), (c).

       38.     Likewise, the advisory committee’s charter must contain appropriate

provisions to “assure that the advice and recommendations of the advisory committee

will not be inappropriately influenced by the appointing authority or by any special

interest, but will instead be the result of the advisory committee’s independent

judgment[.]” 5 U.S.C. App. II § 5(b)(3), (c).

       39.     Once established, an advisory committee must include and facilitate public

comment and participation. Thus, an advisory committee must provide “timely notice”

of its meetings to the public, 5 U.S.C. App. II § 10(a)(2), and must allow interested

persons to “attend, appear before, or file statements with [the] committee, subject to such




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reasonable rules or regulations as the Administrator [of GSA] may prescribe,” id. §

10(a)(3).

       40.     The Administrator of the GSA has implemented these statutory

obligations by requiring advisory committees to publish notice of their meetings “at least

15 calendar days prior” to the meetings, unless documented and “exceptional

circumstances” require otherwise. 41 C.F.R. § 102–3.150. All meetings must be held “in

a manner or place reasonably accessible to the public” and allow “[a]ny member of the

public [to] speak to or otherwise address the advisory committee if the agency’s

guidelines so permit.” Id. § 102–3.150(a), (d).

       41.     Beyond FACA’s requirement for public notice and participation, an

advisory committee must also make available “the records, reports, transcripts, minutes,

appendixes, working papers, drafts, studies, agenda, [and] other documents . . . made

available to or prepared for” the committee. 5 U.S.C. App. II § 10(b). Pursuant to the

Department’s Manual, these obligations extend to the IWCC’s subcommittees and

working groups. See DOI, Department Manual, 308 DM 2.11, available at

https://www.doi.gov/elips/browse.

       42.     These materials must be released well before the relevant meeting, so that

the public can “follow the substance of the [committee’s] discussions.” Food Chem.

News v. Dep’t of Health & Human Servs., 980 F.2d 1468, 1472 (D.C. Cir. 1992).

   B. The Administrative Procedure Act

       43.     The APA allows a person “suffering legal wrong because of agency

action, or adversely aggrieved by agency action” to seek judicial review of that action.

5 U.S.C. §§ 702-704. Under the APA, a reviewing court may “compel agency action




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unlawfully withheld or reasonably delayed,” id. § 706(1), and “hold unlawful and set

aside agency action, findings, and conclusions” that are “arbitrary, capricious, an abuse of

discretion, or not otherwise in accordance with law,” id. § 706(2). Because FACA does

not provide its own standard or scope of review, or a cause of action, this case is properly

brought under the standards set forth in the APA. See 5 U.S.C. § 701(a).

    C. The Endangered Species Act

        44.     The ESA, 16 U.S.C. §§ 1531-1544, is the most comprehensive legislation

for the preservation of threatened and endangered species ever enacted by any nation. In

passing the Act, Congress found that different species “have been rendered extinct as a

consequence of economic growth and development untempered by adequate concern and

conservation” and that “other species of fish, wildlife, and plants have been so depleted in

numbers that they are in danger of or threatened with extinction.” 16 U.S.C. §

1531(a)(1)-(2).

        45.     In the ESA, Congress established “a program for the conservation of such

endangered species and threatened species” and required federal agencies to “utilize their

authorities in furtherance of the purposes of” the ESA by committing “to conserve to the

extent practicable the various species of fish or wildlife and plants facing extinction . . . .”

16 U.S.C. § 1531(a)(4), (b), (c)(1).

        46.     Under the ESA, the Secretary “shall” list species that are “endangered” or

“threatened” by one or more of five factors, based upon the best available science. 16

U.S.C. § 1533. The import and export of species listed as “endangered” under the ESA

(including their parts) is prohibited under Section 9 of the Act, id. § 1538(a), (d), and is




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generally prohibited for “threatened” species by regulation, id. § 1533(d), 1 subject to

certain exceptions set forth in Section 10 of the Act, id. § 1539(a)(1)(A) (permitting

imports of trophies only if hunting the animal enhances the survival of the species).

       D. The Convention On International Trade In Endangered Species of Wild
          Fauna And Flora

           47.     The United States is a signatory to CITES, an international conservation

treaty designed to ensure that international trade in animals and plants does not threaten

their survival. Mar. 3, 1973, 27 U.S.T. 1087, T.I.A.S. No. 8249. The Convention

recognizes that “wild fauna and flora in their many beautiful and varied forms are an

irreplaceable part of the natural systems of the earth which must be protected for this and

the generations to come.” CITES, preamble, 27 U.S.T. at 1090.

           48.     Listing a species on CITES Appendix I or II restricts international trade in

that species or its parts. In the case of Appendix I species, like black rhinos, export from

the country of origin is legal only if both that country and the destination country

determine such export will not be detrimental to the survival of the species. For

Appendix II species, only the exporting country must render the non-detriment finding.

           49.     In either case, a non-detriment finding for trade in a hunting trophy must

consider the effects of both the export and the hunting itself. See CITES, art. III, IV, VII.

These findings are crucial for ensuring that the export of animal parts does not facilitate

poaching and black market trading, with all the attendant threats to imperiled species.

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     See, e.g. 50 C.F.R. § 17.40(e), (r) (rules for elephants and lions).


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                              FACTUAL BACKGROUND

    A. Interior’s International Conservation Programs

       50.     International conservation – including transnational partnerships – is of

critical importance to the survival of numerous species and ecosystems across the world.

As FWS explains in its current International Affairs Program Strategic Framework:


         The survival of living resources important to the American public
         depends on effective international conservation. Global issues and
         challenges such as illegal and unsustainable trade in wildlife and plants,
         inadequate governance, and landscape-scale habitat alteration are
         increasingly important threats to species and habitats.2
       51.     FWS engages in these issues “in the context of a number of long-standing

commitments . . . contained in domestic laws, international treaties, and other unilateral

agreements.” Id. These commitments include CITES, the ESA, the Multinational

Species Conservation Acts, the Lacey Act, the Wild Bird Conservation Act, and other

federal laws and international agreements.

       52.     As part of this conservation mission, FWS’s International Affairs division

operates the Wildlife Without Borders and International Wildlife Trade programs, which

“work with private citizens, local communities, other Federal and State agencies and

foreign governments, as well as non-governmental organizations, scientific and

conservation organizations, industry groups, the private sector, and other interested

parties to ensure effective implementation of treaties and laws, and the global

conservation of species.” Id. at 8.




2
 FWS, International Affairs Program Strategic Framework 2014-2019 at 3 (Aug. 2014),
available at https://www.fws.gov/international/strategic-plan.pdf.


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       53.     These programs advance international conservation on several fronts, from

“[b]uilding networks to analyze action and promote exchange of information and best

practices” to “[p]rovid[ing] technical and financial resources to support on-the-ground

conservation action” and “[i]nfluenc[ing] species and habitat management decision-

making, coordinat[ing] biological research, and monitor[ing] species populations and

threats through effective implementation of international commitments and through

partnerships with governments.” Id. at 4-5.

       54.     In recent years, FWS relied on two federal advisory committees to provide

the agency with advice on certain aspects of its conservation mandate: the Wildlife and

Hunting Heritage Conservation Council (“WHHCC”) and the Advisory Council on

Wildlife Trafficking (“ACWT”).

       55.     The WHHCC brought together representatives of the hunting and

conservation communities, such as the National Wildlife Federation and Nature

Conservancy, the Boone and Crockett Club, and the National Shooting Sports

Foundation. Its mission was to “provide[] advice about wildlife and habitat conservation

endeavors” benefiting “wildlife resources.” 3 Beginning in 2010, the WHHCC provided

recommendations on subjects of public interest such as “[f]ostering wildlife and habitat

conservation and ethics in hunting and shooting sports recreation” and “[p]roviding

recommendations to improve implementation of Federal conservation programs that

benefit wildlife, hunting, and outdoor recreation on private lands.” Id. ¶ 4. For example,

in 2012, 2014, and 2016, the WHHCC discussed and offered recommendations to FWS



3
 DOI, Wildlife and Hunting Heritage Conservation Council, 2016 Charter ¶¶ 3-4 (Feb.
2016), available at https://www.facadatabase.gov/committee/charters.aspx?cid=2299
&aid=43.


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regarding international trophy hunting and FWS permitting requirements for the import

of hunting trophies.

       56.     The ACWT was constituted by the Secretary of the Interior in 2013 to

“advise and make recommendations . . . on issues relating to combating wildlife

trafficking,” such as “[e]ffective support for anti-poaching activities,” “[d]eveloping and

supporting effective legal enforcement mechanisms,” and “[d]eveloping strategies to

reduce illicit trade and reduce consumer demand for illegally traded wildlife, including

protected species.”4 Its membership comprised a range of experts from the non-profit

and private sectors, including the heads of the World Wildlife Fund and the African

Wildlife Foundation and a former wildlife crimes prosecutor.

       57.     The ACWT was one component of the federal government’s National

Strategy for Combatting Wildlife Trafficking, which sought to address the international

crisis in poaching and illegal trade in animals and their parts.5 Shortly after the Strategy’s

release, for example, FWS responded to a wave of elephant poaching in Tanzania and

Zimbabwe by prohibiting the import of elephant trophies from those countries.6

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  FWS, Advisory Council on Wildlife Trafficking, 2013 Charter, ¶ 4, (date signed July
24, 2013, date filed Aug. 30, 2013), available at https://www.fws.gov/international
/pdf/filed-charter-2013-advisory-council-wildlife-trafficking.pdf.
5
  National Strategy for Combating Wildlife Trafficking (Feb. 11, 2014), available at
https://obamawhitehouse.archives.gov/sites/default/files/docs/
nationalstrategywildlifetrafficking.pdf.
6
  FWS, Press Release, Service Suspends Import of Elephant Trophies from Tanzania and
Zimbabwe (April 4, 2014), https://www.fws.gov/news/ShowNews.cfm?ID=2E6FF2A2-
E10F-82BC-DAE08807810E3C6B.


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    B. The Threat Of International Trophy Hunting To Imperiled Species

       58.     A significant portion of international “trophy hunting” focuses on large

and often rare animals, such as the “Big Five” species of Africa: lions, elephants, rhinos,

leopards, and Cape buffaloes.

       59.     FWS places various restrictions and requirements on the import of hunting

trophies to fulfill its obligations under federal law and international treaties, and to

account for, inter alia, inadequate regulation in countries where trophy hunting

transpires, the loss of hunting-related conservation revenue to corruption, the deleterious

trafficking of rare and endangered species, and circumstances where hunting-related

deaths of imperiled species outpace births. See, e.g., 16 U.S.C. § 1537(b) (requiring FWS

to work with the Secretary of State to encourage foreign countries to promote the

conservation of listed species).

       60.      A single overseas trophy hunt tends to cost significantly more than the

median household income for American families. In South Africa, for example, the

average cost for a lion hunt (including the trophy fee, guides, and lodging) is $71,000. 7

The cost for a white rhino trophy is upwards of $125,000.8

       61.     While only a tiny minority of Americans engage in international trophy

hunting, trophy hunting interests vigorously lobby to protect their financial interests.

Safari Club International, for example, spent $710,000 on such efforts in 2016 alone.

And four of the Council’s members – Peter Horn, Chris Hudson, Mike Ingram, and Keith




7
  See The Big Five: Africa’s Most Sought-After Trophy Animals, N.Y. Times, Aug. 10,
2015.
8
  Id.


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Mark – were involved in a 2016 inaugural fundraiser advertising access to the President

elect in exchange for contributions of $500,000 or more.9

       62.     These groups and individuals promote the controversial view that killing

rare animals contributes to the species’ preservation. The best available science indicates

otherwise. For example, the trophy hunting of lions and elephants unnaturally selects for

smaller and weaker animals (therefore reducing a population’s reproductive capacity),

decreases genetic variations and population density, and destabilizes social structures, all

with cascading impacts to populations.

       63.     Consistent with this science, many conservationists, hunters, and

American citizens are skeptical of trophy hunting. For example, a 2015 survey

conducted by Marist Institute for Public Opinion determined that 86% of Americans,

75% of gun owners, and 65% of hunters oppose trophy hunting of big game like

elephants and lions, with 62% of Americans, 48% of gun owners, and 34% of hunters

believing the practice should be prohibited by law.10

       64.     Nor is trophy hunting a boon to local communities or developing

economies. In Zimbabwe and other African countries popular with trophy hunters, for




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  See, e.g., Brochure for the Opening Day 45, Opening Day Found. (Dec. 20, 2016),
available at https://www.scribd.com/document/334735934/Opening-Day-Sponsorship-
12-20-16; Matea Gold & David A. Fahrenthold, Offer of Access to Trump and Family at
Fundraiser is Pulled Back, But Ties Remain, Wash. Post, Dec. 20, 2016,
https://www.washingtonpost.com/politics/offer-of-trump-access-at-fundraiser-is-pulled-
back-but-family-ties-remain/2016/12/20/ec185520-c6ea-11e6-bf4b-
2c064d32a4bf_story.html?utm_term=.d95700d2c425.
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   See Marist Poll, Press Release, Americans Oppose Big Game Hunting…More Than Six
in Ten Favor Legal Ban (Nov. 24, 2015), http://maristpoll.marist.edu/wp-
content/misc/usapolls/us151001/Sports/HBO%20Real%20Sports_Marist%20Poll_Compl
ete%20Survey%20Findings_November%202015.pdf.


                                             19
example, trophy hunting contributes at most .03 percent of GDP, compared to between

2.8 and 5.1 percent for tourism writ large.11

        65.     President Donald Trump has likewise weighed in against trophy hunting,

saying that he would be “hard pressed to change [his] mind that this horror show in any

way helps conservation of Elephants [sic] or any other animal.”12

     C. Secretary Zinke Improperly Charters And Staffs The One-Sided IWCC To
        Advance Trophy Hunting

        66.     Prior to Secretary Zinke’s confirmation, the DOI’s two advisory

committees concerning wildlife conservation – the WHHCC and the ACWT – brought

multiple points of view to bear on the subject.

        67.     To Secretary Zinke and the trophy hunting industry, this diversity of

viewpoints constituted a significant drawback. In order to create an advisory committee

with a single-minded focus on the promotion of trophy hunting, Secretary Zinke let the

ACWT’s charter lapse and then chartered the IWCC on November 3, 2017, with the

Department publicly announcing the Council on November 8, 2017. See International

Wildlife Conservation Council Establishment; Request for Nominations, 82 Fed. Reg.

51,857, 51,857-58 (Nov. 8, 2017). Secretary Zinke let the WHHCC’s charter lapse four

months later.

        68.     The IWCC’s one-sided mandate is to “provide advice and

recommendations . . . focused on increased public awareness domestically regarding the




11
   Cameron K. Murray, Economist at Large, for Humane Soc’y Int’l, The Lion’s Share?
On the Economic Benefits of Trophy Hunting, at 3-4 (2017),
http://www.hsi.org/assets/pdfs/economists-at-large-trophy-hunting.pdf.
12
   Donald J. Trump (@realDonaldTrump), Twitter, Nov. 19, 2017,
https://twitter.com/realdonaldtrump/status/932397369655808001?lang=en.


                                                20
conservation, wildlife law enforcement, and economic benefits that result from United

States citizens traveling to foreign nations to engage in hunting[,]” and to “advise the

Secretary on the benefits international hunting has on foreign wildlife and habitat

conservation, anti-poaching and illegal wildlife trafficking programs, and [on] other ways

in which international hunting benefits human populations in these areas.”13

       69.     The IWCC’s Charter identifies several specific tasks the Council will

undertake, many of which have major ramifications for conservation policy. For

example, the Council is tasked with “[r]ecommending removal of barriers to the

importation into the United States of legally hunted wildlife[,]” “providing

recommendations that seek to resume the legal trade of [banned] items,” “providing

recommendations for regulations that will lead to a reduction of unwarranted [seizure and

forfeiture] actions[,]” and “[r]eviewing the Endangered Species Act’s foreign listed

species . . . with the goal of eliminating regulatory duplications.”14 As the IWCC

implements these policies, populations of imperiled wildlife will suffer from increased

poaching, hunting, and the trade in their parts.

       70.     As noted, FACA and its implementing regulations require significant

preliminary findings when an agency creates an advisory committee. Defendants ignored

these requirements when chartering the IWCC.

       71.     The Secretary’s only effort to comply with these requirements reads, in its

entirety: “I hereby certify that the [IWCC] is necessary and is in the public interest in




13
   IWCC, 2017 Charter, ¶ 3, (date signed Nov. 3, 2017, date filed Dec. 21, 2017),
available at https://www.facadatabase.gov/committee/charters.aspx?cid=2636&aid=43
(“IWCC Charter”).
14
   Id. ¶ 4(d)-(g).


                                             21
connection with the performance of duties imposed on the Department of the Interior[,]

43 U.S.C. [§] 1457, under the provisions of the Fish and Wildlife Act of 1956 (16 U.S.C.

[§] 742a-742j), and other Acts applicable to specific bureaus.” 82 Fed. Reg. at 51,858.

         72.       Thus, Secretary Zinke did not even attempt to explain how agency

business or the public interest would be served by an advisory committee dedicated to

serving the interests of a small cadre of trophy hunters. Nor did the Secretary explain

why the information to be obtained from the Council was not already available through

the then-active WHHCC (or through renewal of the recently expired ACWT charter).

         73.       Furthermore, Defendants designed the IWCC to violate FACA’s

requirement of a fairly balanced membership. The Council’s charter calls for no more

than 18 members comprised of representatives from:

                  The Departments of the Interior and State (acting ex officio);

                  Wildlife and habitat conservation/management organizations;

                  U.S. hunters actively engaged in international and/or domestic hunting
                   conservation;

                  The firearms or ammunition manufacturing industry;

                  The archery and/or hunting sports industry; and

                  The tourism, outfitter, and/or guide industries related to international
                   hunting. 15

         74.       By its nature, this set of entities is not fairly balanced. Four of the five

non-governmental groups share the same vested interest in deregulating trophy hunting.

Decreasing permitting fees and increasing the availability of trophy hunting opportunities

will reduce costs or raise profits for each of those four groups and their members, such


15
     See IWCC Charter ¶ 12(b).


                                                 22
that each has the same incentive and point of view on all of the duties spelled out in the

IWCC’s charter.

       75.        The IWCC solicited nominations for Council membership on November 8,

2017. The full list of nominations is not known because the IWCC has refused to make a

complete set of comments or nominations publicly available. But organizations

dedicated to successful wildlife conservation and to humane wildlife management,

including Plaintiffs, nominated potential representatives. Plaintiffs, for example, jointly

nominated Andrew Wetzler, the Deputy Chief Program Officer of NRDC. Mr. Wetzler is

a wildlife trade expert with 20 years of experience in the Endangered Species Act,

CITES, and other relevant areas of law and policy.

       76.        Consistent with the slanted intent of the IWCC – and without explanation

to Mr. Wetzler or the public – Defendants rejected Mr. Wetzler’s nomination, along with

every other nominee who lacked an economic interest in liberalizing and lowering the

costs of trophy hunting or the import of imperiled wildlife. As a result, the Council does

not include a single expert in global wildlife and habitat conservation, international trade,

or foreign aid.

       77.        Instead, Defendants stacked the Council with representatives of a single

viewpoint. The Council’s entire membership consists of advocates for trophy hunting,

the proliferation of firearms, and the importation of exotic animals and/or their parts.

Thus, these individuals stand to benefit in some tangible, economic way if trophy hunting

and the import of animal trophies or exotic animals is deregulated. For example, the

trophy hunters on the Council will more readily and cheaply be able to import animal




                                              23
parts from foreign countries, and the hunting, firearms, and archery professionals will see

more business.

        78.      Six of the Council’s membership have connections to the National Rifle

Association or firearm manufacturers, and eight are connected with Safari Club

International or Conservation Force (avowedly pro-trophy hunting organizations). The

last two organizations, in particular, have long sought to import more animal trophies by

eliminating the requirements for CITES non-detriment findings and ESA enhancement

findings, and by opposing efforts to protect imperiled species under the ESA and CITES

in the first instance.

        79.      The Council has spoken candidly of its lopsided membership. At the

Council’s meeting in June, 2018, for example, Council member Steve Chancellor

suggested that conservation community “join us, not fight us,” tacitly conceding that no

members of that community were among the Council’s membership. With no members

of the conservation community actually sitting on the Council, member Keith Mark

openly characterized those who might disagree with the Council’s monolithic point of

view as “a vocal subset of the population.”

        80.      Given the unlawfully unbalanced nature of the Council’s membership, a

separate requirement of FACA is vitally important: the requirement that advisory

committees’ establishing documents “contain appropriate provisions to assure that the

advice and recommendations of the advisory committee will not be inappropriately

influenced by the appointing authority or by any special interest, but will instead be the

result of the advisory committee’s independent judgment[.]” 5 U.S.C. § App. II §

5(b)(3), (c).




                                              24
         81.     This requirement is critical to the IWCC not only because the appointees

have a nearly uniform economic and personal interest in promoting and deregulating

trophy hunting and trophy importation, but because most of them are members of the

same special interest groups.

         82.     Despite this glaring risk, the Council’s charter contains only a limited

ethics provision prohibiting any member from participating in “deliberations or votes

relating to a specific party matter before the Department or its bureaus and offices

including a lease, license, permit, contract, grant, claim, agreement, or litigation in which

the member or the entity the member represents has a direct financial interest.”16

         83.     The charter does not define what constitutes a “direct financial interest”

and does nothing to prevent the many members of the National Rifle Association and

Safari Club International from knowingly advancing the interests of those groups. Nor

does it do anything to prevent the Council’s simpatico members from voting as a bloc.

         84.     The charter is particularly troubling because there is already a distinct

possibility that the Council is considering ultra vires action: at the Council’s June

meeting, Anna Seidman, Director of Litigation of Safari Club International (an

organization connected to the majority of the Council’s membership), addressed the

entire Council by urging it to offer policy recommendations “beyond” the confines of its

legal charter.

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16
     IWCC Charter ¶ 13.


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     D. The IWCC Begins Conducting Its Business In Secret

        85.     What the Council advertised as its first two meetings (held on March 16,

2018 and June 19, 2018) violated FACA’s requirements for open meetings and

transparency.

        86.     The IWCC did not observe FACA’s requirement that notice be published

at least 15 calendar days prior to what was allegedly its first meeting; instead, the Council

gave notice on March 2, just 14 calendar days before the meeting.17

        87.     The IWCC then compounded this failure by turning away members of

conservation groups who tried to attend the Council’s meeting. After giving unlawfully

foreshortened notice, the IWCC set an arbitrary registration date of March 12, 2018 for

attendance. 83 Fed. Reg. at 9022. Employees of Plaintiffs NRDC and the Center sent

numerous emails after that date requesting to attend, but received no response—and then

were turned away at the door. Similarly, an employee of the Center requested permission

to address the Council at the first IWCC meeting, but was barred from speaking despite

there being ample time to carry out the meeting’s agenda.

        88.     These limitations on attendance and participation were unreasonable and

unjustified. There were no plausible security concerns justifying the Department’s

refusal to admit attendees, as all attendees were required to pass through building security

to enter. Nor could the Council’s exclusionary policies be explained by space

constraints, as there was ample room in the meeting space for more attendees.




17
  See International Wildlife Conservation Council; Public Meeting, 83 Fed. Reg. 9021
(Mar. 2, 2018).


                                             26
       89.       On information and belief, Defendants have also held Council meetings in

secret: both the evening before and the morning of the Council’s first meeting, the full

Council was invited to convene with DOI officials including Secretary Zinke, Deputy

Secretary David Bernhardt, and Ben Cassidy, the agency’s Senior Deputy Director for

Intergovernmental and External Affairs and a former lobbyist for the National Rifle

Association.

       90.       Although Cassidy has deep ties to hunting and firearm interests, he failed

to detail these arrangements when filing his mandatory financial disclosures upon entry to

government service, and may have violated his ethics commitments by serving as the

Council’s point of contact during their initial meetings.18

       91.       The Council’s secret meetings were neither open nor disclosed to the

public, and the Council has not released any records relating to the subjects of these

meetings.

       92.       Defendants’ violations of FACA’s open meetings requirements are all the

more troubling because Defendants have also declined to heed the Act’s requirements for

disclosure of Council materials. FACA requires dissemination of all materials prepared

by or for the Council prior to Council meetings, but, on information and belief, the

Council has failed to produce at least the following materials:

                Detailed agendas for Council meetings.



18
   See, e.g., Gabriel Sandoval, These Trump Staffers – Including an ex-NRA Lobbyist –
Left Their Financial Disclosure Forms Blank, ProPublica, June 28, 2018,
https://www.propublica.org/article/these-trump-staffers-including-an-ex-nra-lobbyist-left-
their-financial-disclosure-forms-blank; Chris D’Angelo, Documents Raise More Ethics
Issues for Ex-NRA Lobbyist Working for Ryan Zinke, HuffPost, July 18, 2018,
https://www.huffingtonpost.com/entry/ben-cassidy-nra-interior-wildlife-council-trophy-
hunting_us_5b4d1136e4b0fd5c73be0bb5.


                                              27
                At least four policy presentations – including PowerPoint slides and

                 prepared speeches – offered to the Council by featured presenters at

                 Council meetings.

                Lists of Council subcommittee memberships.

                Presentations to Council members on their ethics obligations.

                Reports on hunting in east African nations.

       93.       Plaintiffs learned of some of these materials – such as policy presentations

– when the materials were suddenly produced for the first time at Council meetings.

Because these materials were not offered to the public before the Council meetings, their

belated production violates FACA.

       94.       Other materials, such as Council agendas and reports on hunting, have not

yet been publicly acknowledged by the Council, and are evident only obliquely, from

responses to Freedom of Information Act requests.

       95.       The Council has also failed to make public recordings, transcripts, or

detailed minutes of its two meetings.

       96.       At the March 16 meeting, the Council established three subcommittees,

with the purpose of making recommendations that would be adopted by the full Council.

       97.       On information and belief, subcommittees have already begun meeting—

but the IWCC has not announced those meetings to the public, provided any relevant

documents to the public, or allowed public attendance. The Department’s internal

guidance, however, requires subcommittees to adhere to the same requirements as the full

committee.




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        98.     Nor has the IWCC made available comments filed in response to the

announcement of the charter, or the nominations for members.

                                   CLAIMS FOR RELIEF

                                        Count One
                  Unlawful Creation of a Federal Advisory Committee
               5 U.S.C. § 706, 5 U.S.C. App. II § 9, 41 C.F.R. § 102–3.30(a)

        99.     Plaintiffs repeat and incorporate by reference each of the forgoing

allegations as if fully set forth herein.

        100.    FACA and its implementing regulations require certain findings and

procedures before an agency may create an advisory committee. The IWCC does not

comply with these requirements. In particular, Defendants have not adequately explained

why the IWCC is “in the public interest in connection with the performance of duties

imposed on that agency by law,” 5 U.S.C. App. II § 9(a)(2), why the IWCC is “essential

to the conduct of agency business,” 41 C.F.R. § 102–3.30(a), or why “the information to

be obtained [through the committee] is not already available through another advisory

committee or source within the Federal Government,” id.

        101.    To the contrary, the overall mandate of the committee – to “increas[e]

public awareness” about the supposed benefits of the tiny population of “U.S. citizens

traveling to foreign nations to engage in hunting” – is incompatible with the public

interest because it sacrifices open and balanced debate of appropriate conservation

measures in favor of the parochial, predetermined interests of certain industries and

wealthy political donors. IWCC Charter ¶ 3.




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        102.    Accordingly, Defendants’ creation of the IWCC is arbitrary, capricious, an

abuse of discretion, not in accordance with law, and in excess of their statutory authority.

5 U.S.C. § 706(2).

                                     Count Two
    Failure to Disclose Advisory Committee Materials and to Provide for Public
                 Participation, 5 U.S.C. § 706, 5 U.S.C. App. II § 10

        103.    Plaintiffs repeat and incorporate by reference each of the forgoing

allegations as if fully set forth herein.

        104.    FACA and its implementing regulations require that Defendants be

transparent and open when conducting advisory committee business, but the IWCC has

unlawfully operated outside of the public eye. In particular, Defendants have failed to:

    (a) make available to the public the “records, reports, transcripts, minutes,

        appendixes, working papers, drafts, studies, agenda, [and] other documents . . .

        made available to or prepared for” the IWCC and its subcommittees and working

        groups, 5 U.S.C. App. II § 10(b);

    (b) make available Council materials in advance of IWCC meetings, id.;

    (c) provide minutes of the Council’s meetings, id.;

    (d) allow public participation at Council and subcommittee meetings, 43 C.F.R. §

        1784.4-3(c);

    (e) provide adequate notice of Council, subcommittee, and working group meetings,

        id. § 1784.2-2.

        105.    Defendants’ restrictions on public participation are arbitrary, capricious,

an abuse of discretion, not in accordance with law, and in excess of their statutory

authority, and/or constitute agency action unlawfully withheld. 5 U.S.C. § 706(1), (2).




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                                      Count Three
                  Failure to Fairly Balance Represented Points of View
                           5 U.S.C. § 706, 5 U.S.C. App. II § 5

        106.    Plaintiffs repeat and incorporate by reference each of the forgoing

allegations as if fully set forth herein.

        107.    FACA requires that an advisory committee be “fairly balanced in terms of

the points of view represented and the functions to be performed by the advisory

committee.” 5 U.S.C App. II § 5(b)(2), (c). The IWCC’s stated function is to “provide

advice and recommendations . . . focused on increased public awareness domestically

regarding the conservation . . . benefits that result from United States citizens traveling to

foreign nations to engage in hunting[,]” but the Council includes no representation from

scientists, economists, or experts in wildlife conservation. See IWCC Charter ¶ 3.

        108.    Defendants rejected not only Plaintiffs’ nominations but all nominations

of individuals who might in any way represent Plaintiffs’ point of view, or any other

point of view that was not pre-committed to deregulating foreign trophy hunting and the

import of rare animals.

        109.    Defendants’ failure to ensure that the IWCC is fairly balanced is arbitrary,

capricious, an abuse of discretion, not in accordance with law, and in excess of their

statutory authority, and/or constitute agency action unlawfully withheld. 5 U.S.C. §

706(1), (2).

                                      Count Four
           Failure to Include Provisions to Prevent Inappropriate Influence
                         5 U.S.C. § 706(2), 5 U.S.C. App. II § 5

        110.    Plaintiffs repeat and incorporate by reference each of the forgoing

allegations as if fully set forth herein.




                                              31
        111.   All advisory committees must include “appropriate provisions to assure

that the advice and recommendations of the advisory committee will not be

inappropriately influenced by the appointing authority or by any special interest.”

5 U.S.C. App. II § 5(b)(3). The IWCC lacks provisions to assure against such influence

in light of the fact that all or nearly all of its membership directly benefits from the

hunting and hunting-related policies they are now evaluating. In particular, the IWCC is

unlawfully comprised largely of members who are directly involved with federally-

regulated import/export permitting of protected species, or who are employed by

organizations with direct financial interests in such activities. See 43 C.F.R. § 1784.2-

2(a).

        112.   Defendants’ failure to ensure that the IWCC will not be inappropriately

influenced by special interests is arbitrary, capricious, an abuse of discretion, not in

accordance with law, and in excess of their statutory authority, and/or constitute agency

action unlawfully withheld. 5 U.S.C. § 706(1), (2).

                                      Prayer for Relief

WHEREFORE, Plaintiffs pray that this Court:

        1.     Declare that Defendants’ creation and administration of the IWCC violates

the APA, FACA, FACA’s implementing regulations, and Department guidance, and that

the establishment of the Council is therefore unlawful;

        2.     set aside the IWCC’s charter and all Secretarial orders and decisions

attendant to the IWCC’s creation, including the appointments of individual committee

members and alternate members;




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       3.      through the named Defendants, enjoin the IWCC and any of its

subdivisions from meeting, advising the Secretary, and otherwise conducting committee

or subcommittee business;

       4.      order Defendants to immediately release all materials prepared for the

IWCC or its subcommittees, and to provide a Vaughn index for such materials and those

withheld from production for any reason;

       5.      enjoin Defendants from relying on any recommendations or advice from

the IWCC;

       6.      award Plaintiffs their costs, attorneys’ fees, and other disbursements for

this action; and

       7.      grant any other relief this Court deems appropriate.

 Dated: August 1, 2018                            Respectfully submitted,

                                                 /s/ Jeffrey B. Dubner
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